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                   Exhibit B
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION




 ELLIOT WINTER,                                       )
 and,                                                 )
 ALEXANDRIA HURLBURT,
                                                      )
                                  Plaintiffs,         )
           v.                                         )                     Case No.
                                                      )              St. Louis City, Missouri
 FACEBOOK, INC.,
 and,                                                 )              Case No. 2122-CC08817
 TIKTOK INC., TIKTOK PTE. LTD.,                       )
 BYTEDANCE LTD., and BYTEDANCE                                        Jury Trial Demanded
 INC.,                                                )
 and,                                                 )
 MONICA DOLAN,
                                                      )
                                  Defendants.         )


   DECLARATION OF JENNY PRICER IN SUPPORT OF NOTICE OF REMOVAL
          I, Jenny Pricer, declare as follows:

          1.     My name is Jenny Pricer. I am a Case Manager on the eDiscovery & Information

Governance team at Facebook, Inc. (“Facebook”). I have personal knowledge of and am

competent to testify as to all matters stated in this Declaration.

          2.     Facebook was served with the Complaint and Summons in the above-captioned

action on July 21, 2021.

          3.     Facebook is, and at all relevant times was, a Delaware corporation with its

principal office in California.

          4.     I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.




                                          Dated: August 19, 2021




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